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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  LUCAS CALIXTO, et al.

                  Plaintiffs,

                           v.
                                                       Civil Action No.18-1551 (ESH)
  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                  Defendants.



                                DEFENDANTS’ STATUS REPORT

       In accordance with the Court’s Orders entered on August 13, 2018 (ECF No. 23) and

October 22, 2019 (ECF No. 145), Defendants respectfully submit this status report. The Court’s

August 13, 2018 order requires Defendants to provide bi-weekly status reports “with any updates

regarding [1] the Army’s policy with respect to administrative separation procedures applicable

to DEP and DTP members, as well as [2] any intention to discharge any DEP or DTP members

in accordance with this policy.” Order (ECF No. 23) at 2. The undersigned failed to submit a bi-

weekly status report on November 12, 2019, as required by the Court’s Order. The undersigned

is cognizant of the necessity of filing reports on the date specified and regrets that a status report

was not filed on the date required. The undersigned respectfully requests that the Court accept

this as Defendants’ bi-weekly status report.

       Defendants also submit this report to update the Court on its compliance with the Court’s

October 22, 2019 Order which required Defendants to send notifications, by November 20, 2019,

offering reinstatement for the purposes of receiving process to the group of approximately 20
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DTPs who the Army says have received both USAREC and USARC discharge orders for non-

MSSD reasons. ECF No. 145 at 2.

       1. The Army’s October 26, 2018 policy memorandum (ECF No. 50-1), with regard to

MAVNIs who receive unfavorable MSSRs and/or MSSDs, remains in effect and has not been

changed or otherwise amended.

       2.    As of the date of this report, the Army has not initiated any administrative

separations pursuant to the October 26, 2018 policy memorandum (ECF No. 50-1).

       3.    On November 19, 2019, Defendants sent notifications offering reinstatement for the

purposes of receiving process to the group of approximately 20 DTPs (actually 18 individuals)

who the Army says have received both USAREC and USARC discharge orders for non-MSSD

reasons.

Dated: November 20, 2019                       Respectfully submitted,

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                                               United States Attorney

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